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                            UNITED STATES DISTRICT COURT
   7
                          CENTRAL DISTRICT OF CALIFORNIA
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   9
       CARMEN JOHN PERRI,                      )     Case No.: CV 17-5911 DSF (SSx)
  10                                           )
                    Plaintiff,                 )
  11                                           )
             vs.                               )     JUDGMENT
  12                                           )
       MMP, LLC,                               )
  13                                           )
                    Defendant.                 )
  14                                           )
       ____________________________            )
  15
  16         The Court having granted Plaintiff’s motion for default judgment,
  17         IT IS ORDERED AND ADJUDGED that judgment be entered against
  18   Defendant MMP, LLC and in favor of Plaintiff for $4,000 in statutory damages.
  19   Defendant MMP, LLC is further ORDERED to provide accessible disabled
  20   parking spaces and an accessible path of travel at the property located at or about
  21   13350 W. Washington Blvd., Los Angeles, California, in compliance with the
  22   Americans with Disabilities Act Accessibility Guidelines.
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  24   Dated: March 15, 2018                  ____________________________
                                                     Dale S. Fischer
  25                                            United States District Judge
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